  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 1 of 50 PageID #:3208




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 SIA HENRY, et al., individually and on behalf of all
 others similarly situated,

                                Plaintiffs,
                                                               Case No.: 22-cv-00125
                                v.

 BROWN UNIVERSITY, et al.,                                     Hon. Matthew F. Kennelly

                                Defendants.


                                     JOINT STATUS REPORT

       The Parties submit this Joint Status Report pursuant to the Case Management Order, Dkt.

No. 260, requiring the Parties “to file a joint status report by 1/13/2023.”

       I.      UPDATES TO THE COURT ON RECENT DEVELOPMENTS

       Defendants notified Plaintiffs on January 3, 2023, that “[t]he 568 Presidents Group (and

all of its Committees) has been formally dissolved, effective November 4, 2022.”

       II.     THE PARTIES’ RESPECTIVE POSITIONS ON DISCOVERY ISSUES

Plaintiffs’ Position

       Three issues are ripe for the Court’s decision:

               1) Defendants Should Designate Appropriate Custodians From the President’s

               Office and the Development Office;

               2) Custodians At Five Universities Should Provide Discovery After Alleged

               “Withdrawals” From The Cartel; and

               3) Admissions Scoring Data and its Importance to Plaintiffs’ Ability to Prove Our

               Case.


                                                  1
  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 2 of 50 PageID #:3209




       There are two other issues (Discovery of Post-January 9, 2022, Communications and TAR

and Search Terms) that are not yet fully ripe, but on which the Parties need the Court’s guidance

to ensure any disputes will be either resolved or ripe for decision by January 27, 2023.

   A. Procedural Context

       This Court made clear on October 26, 2022, that donation records were a significant part

of Plaintiffs’ case, and that Plaintiffs must be afforded discovery sufficient to establish a link, if

any, between donations and admissions decisions. Indeed, the Court even emphasized the

importance of this specific discovery, and its expectation that Defendants must make such

evidence available to Plaintiffs:

                So first of all‐‐and I don’t think this is the case, but I just want to
                have it out there just so I’ve said it and I’ll be done with it‐‐I mean,
                this is not going to be a situation where the case comes to a halt and
                gets adjudicated because the discovery can’t get produced. So I just
                want to make that clear.
                …
                So the whole case‐‐maybe not the whole case, but a significant
                part of the case is exactly this, the contention that admissions
                are tied to donations, or at least that’s a significant part of the
                case. And so unless there’s going to be an opinion that basically
                says, well, the kind of thing I just said is not going to happen,
                that basically says the plaintiffs can’t get that, therefore, the case is
                over, then we have to come up with a way of doing that.

Oct. 26, 2022 Tr. 23:12-17; 36:23-37:6 (emphasis added). And when the Court speaks, its words

are rulings. Id. 34:16-17 (“That’s the judge talking. Those are called rulings.”) (emphasis

added). As best Plaintiffs have been able to determine, Defendants have produced exactly zero

donation records in this case to date.

       In the December 21, 2022 conference, the Court emphasized the importance for the parties

to proceed diligently in their discovery work, and that the meet-and-confers cannot continue

interminably:




                                                   2
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 3 of 50 PageID #:3210




                 What that means is I’m putting a deadline on you. … We’ve got
                 to get done with all of this stuff. Here’s why it’s in your interest to
                 do that. I set the discovery schedule, and I’m pretty sure I told you
                 at the time that’s the discovery schedule. And if it takes you, you
                 know, 24 months to get—you know, to negotiate over the shape
                 of the table and that leaves you a month and a half to do, you
                 know, 250 depositions, then you’re going to have a real busy
                 month and a half, just to put it in stark terms.
                 …
                 And don’t just give me some kind of, you know, generic wave of
                 the hand saying discovery is ongoing or document production is
                 ongoing. I need more detail than that so I can be satisfied that
                 people are actually—have their noses to the grindstone and are
                 getting the work done.

Dec. 21, 2022 Tr. 12:13-13:24 (emphasis added).

    B.      Issues From The December 2, 2022 Joint Status Report That Are Ripe For
            Resolution

         In the December 2, 2022 Joint Status Report (“JSR”), Plaintiffs submitted that there were

three issues ripe for the Court’s intervention. Defendants represented at the December 21, 2022

hearing that none of these issues were ripe. Plaintiffs have taken issue with Defendants’

representation to the Court that these three issues were not ripe for resolution at that time. See

Ex. A.1 These issues were ripe on December 2, they were ripe on December 21, and they are ripe

now.

         1. Defendants Should Designate Appropriate Custodians From the President’s Office
            and the Development Office

         As of the December 2 JSR, sixteen out of seventeen Defendants had refused to designate a

custodian in its Development Office, and twelve of seventeen Defendants had refused to designate




1
  Exhibit A is an email chain beginning December 23, 2022, Robert D. Gilbert email to Britt Miller and
copied to all Defendants entitled “The Defendants’ Representation to the Court on December 21 that Three
Issues are Not Ripe for Decision by the Court.”) Defendants responded to Plaintiffs’ email on January 3,
offering one justification to support their position that the issues were not ripe. Id. On January 9, Plaintiffs
explained the lack of merit of that one justification. Id.


                                                       3
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 4 of 50 PageID #:3211




a custodian in its President’s Office.2 Since then, the only change is that Cornell has added the

President’s Office as a custodian for certain narrow topics, so there are now eleven out of seventeen

Defendants who refuse to designate a custodian at all in its Presidents’ office, but of the six

Defendants now willing to designate a custodian of documents in the President’s Office, at least

two of those six refuse to designate a custodian in the President’s Office for donor-related

applicant records.

        As Plaintiffs stated in the December 2 joint status report: “The sequence of events is

illuminating. First, Plaintiffs went to Individual meet-and-confers with individual Defendants

(starting on November 10), several of whom used identical arguments to refuse to designate a

custodian in the Development or President’s Office, and then said that the Plaintiffs needed to seek

recourse at the global meet-and-confers, and this pattern continued for a couple of weeks. At the

subsequent global meet-and-confer on November 28, to which the Plaintiffs had been referred, all

Defendants took the position that Plaintiffs’ only recourse was to go back to all seventeen

universities separately in at least seventeen more Individual meet-and-confers to determine

whether any one of them will agree to provide even a single custodian from one of those offices.

(In a December 1 Individual meet-and-confer, Johns Hopkins identified custodians from its

President’s and Development offices, leaving sixteen more Individual meet-and-confers.) From

the perspective of the Plaintiffs, this is a classic case of being given the run-around.” December 2

Joint Status Report, Dkt. No. 255, at 2.

        Plaintiffs notified all Defendants at least 12 times in writing between November 23 and

December 21, 2022, that their positions that they will not designate a custodian from President’s


2
 Given in part their unique status from joining the Cartel recently, Plaintiffs are still in negotiation with
Caltech regarding more limited discovery from these offices and possible alternative discovery to get the
necessary materials short of designating individuals from those offices as custodians.


                                                     4
  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 5 of 50 PageID #:3212




Office (12 Defendants) or the Development Office (16 Defendants) were inconsistent with the

Court’s October 26 rulings and guidance. In each of these writings, Plaintiffs referred Defendants

to Plaintiffs’ Four Illustrative Scenarios, each demonstrating how extremely relevant documents

would likely be located only in the President’s Office or Development Office. See, e.g., Ex. B

(November 23, 2022 email from Robert D. Gilbert to all Defense counsel). (A shorthand way of

referring to these Four Illustrative Scenarios would be to denominate them as the: 1) “The Oral

Communication”; 2) “The Terse Instruction Without Context”; 3) “Internal Discussions of

Donation Amounts Insufficient to Warrant Instructions to Admissions”; and 4) “Internal

Scorecards.”)

       Northwestern has offered a written response to try to address Plaintiffs’ Illustrative Four

Scenarios, which is especially instructive. One of the scenarios adduced by the Plaintiffs is where

the Presidents’ or Development Office has lengthy email and written communications with

prospective donors, and then shoots terse or unrevealing emails to (or even merely has an oral

conversation with) the admissions department with instructions. In this scenario, limiting

custodians to the admissions office would prevent plaintiffs from discovering the smoking gun. In

response, Northwestern argues that this and the other scenarios described by the plaintiff are

merely “hypothetical” and go “well beyond what is alleged in the complaint.” This is ironic

because (as was alleged in the original Complaint, the Amended Complaint, and now in the Second

Amended Complaint) Northwestern was the subject of an expose by its own student newspaper

entitled “Northwestern President Schapiro Says He Reads Applications of Some Legacy, Donor

Students,” which revealed that President Schapiro personally handled 550 VIP applicants in one

year. SAC ¶ 181. As further alleged in the Complaint, “[o]ne of the student reporters who broke

the story about Northwestern’s two-track admissions system later stated in a podcast interview:




                                                5
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 6 of 50 PageID #:3213




“[President Schapiro] also told us that he tries to work with the Dean of Admissions Christopher

Watson, as much as he can. He brought up an example that if they both disagreed on an applicant

that they try to work it out.” SAC ¶ 182.

        President Schapiro and Northwestern are a perfect example of why Plaintiffs need emails

from President and Development Office custodians. Given that President Schapiro handled 550

VIP applications in a single year, it is almost guaranteed that there are thousands of discoverable

communications between his office and those VIP applicants. On the other hand, Plaintiffs have

no idea whether there are also emails from President Schapiro to Dean of Admissions Christopher

Watson. President Schapiro told the student reporters that “he tries to work with the Dean of

Admissions Christopher Watson”—but does he do that orally? Does he send him short emails

without any reason or context, directing him to admit a certain person? We don’t know.3

        Sixteen out of seventeen Defendants still refuse to designate a custodian in their

Development Office, and eleven out of seventeen Defendants still refuse to designate a custodian

in their President’s Office, thwarting the Court’s crystal-clear guidance on October 26. Despite

Defendants’ protestations to the contrary, this issue was also ripe on December 2, was ripe on

December 21, and is ripe now. Plaintiffs therefore respectfully ask the Court to order that by

January 20, 2023, each Defendant shall each designate a custodian of documents from its




3
  The December 23 email to all Defendants not only made all these points about President Schapiro, but
also pointed out the following: And in at least six emails copied to all Defendants between December 14
and December 16, Plaintiffs repeated the Four Illustrative Scenarios and referred Defendants to Paragraph
177 of the Amended Complaint [which contains an admission by a former head of selection at MIT that
every university makes favorable admissions decisions for the children of donors]. This makes clear that
the communications between the President’s or Development offices are often not in writing; therefore the
communications between the Development Office and the Donor, the President’s Office and the Donor,
and between the two offices, are essential—if the Defendants intend to comply with the direction from the
Court on October 26. These are not merely hypothetical or speculative scenarios, as is even further
demonstrated by [Vanderbilt] Chancellor Gee’s colorful admission about ‘truth serum’ in Paragraph 183
of the Amended Complaint.” Ex. A (emphasis added).


                                                   6
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 7 of 50 PageID #:3214




President’s Office and Development Office, to allow Plaintiffs to take discovery central to their

theory of liability.

        2. Custodians At Five Universities Refuse Discovery After Alleged “Withdrawals”

        Five Defendant universities (Brown, Chicago, Emory, Penn, and Vanderbilt) allege having

“withdrawn” from the 568 Cartel at various times and, for that reason, refuse to search for or

produce documents beyond the date of their alleged withdrawal.4

        Plaintiffs have informed all Defendants of Plaintiffs’ position in writing at least six times

between November 23, 2022, and December 21, 2022: Brown, Chicago, Emory, and Penn have

provided Plaintiffs with “dispositive proof” in writing that they remained members of the

conspiracy, because their so-called letters of “withdrawal” praised the conspiracy and wished it

continued success in the future, the precise opposite of what would be required to withdraw as a

matter of law, i.e., in the words of this Court, to disavow or repudiate the conspiracy and its goals.5

Vanderbilt has produced no evidence to support its alleged withdrawal.

        Plaintiffs have further explained to Defendants in writing and in the December 2 JSR that,

absent conclusive proof of withdrawal and disavowal or repudiation of the conspiracy and the

goals of the conspiracy, these Defendants remained a part of the conspiracy, and thus remained



4
  To be precise, Penn and Vanderbilt refuse to produce discovery more than one year past the date of their
alleged “withdrawal.” Penn alleges that it withdrew from the 568 Group in January 2020, and will not
produce documents or data beyond January 1, 2021. Vanderbilt alleges that it withdrew from the 568 Group
in April 2020, and will not produce documents or data beyond April 8, 2021.
5
  As stated by the Court in denying Defendants’ motion to dismiss in its entirety “a withdrawal defense
requires the conspirator to both inform co-conspirators of his withdrawal and disavow the criminal
objectives of the conspiracy.” Carbone v. Brown Univ., Case No. 22 C 125, 2022 WL 3357249, at *11
(N.D. Ill. Aug. 15, 2022) (emphasis added); see also United States v. Nagelvoort, 856 F.3d 1117, 1128–29
(7th Cir. 2017) (noting that a withdrawal defense requires the conspirator to both inform co-conspirators of
his withdrawal and disavow the criminal objectives of the conspiracy). At an August 2, 2022 hearing, this
Court used the word “repudiate” when referring to the requirements for withdrawal from a conspiracy.
Aug. 2, 2022 Tr. 24:11-14.



                                                     7
  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 8 of 50 PageID #:3215




liable for the acts and omissions of each other member of the conspiracy—and vice versa. There

can be no silo of immunity from liability when one is in a conspiracy.

       In Defendants’ insert, Emory admits in writing that, “after Emory left the 568 Group, it

publicly announced that one of its campuses would be need-aware going forward.” Given that a)

Emory’s “withdrawal” letter is dispositive proof that it remained in the conspiracy, and b) Emory

made non-need-blind admissions decisions since 2012, thus all seventeen Defendants are liable,

then c) Plaintiffs are entitled to discovery from Emory to prove that liability.

       Despite four of these Defendants having produced dispositive proof that they remained in

the conspiracy, and Vanderbilt having produced no evidence whatsoever that it ever disavowed or

repudiated the conspiracy, these Defendants continue to flout the Court’s guidance concerning

discovery into which Plaintiffs are entitled, in particular with regard to donation records. This issue

was also ripe on December 2, was ripe on December 21, and is ripe now.

       Remarkably, notwithstanding the statements from the Bench on August 2, 2022, and the

Court’s rulings on August 15, 2022, these Defendants persist in asserting that their “withdrawal”

renders them immune from certain production after the date of their alleged “withdrawals.” Indeed,

these Defendants have offered to produce discovery concerning whether their withdrawals were

“legally adequate.” These five Defendants are literally proposing that the Parties must now

relitigate what the Court has already decided five months ago: that Plaintiffs’ allegations are

plausible, Defendants have not withdrawn from the conspiracy, and Plaintiffs are entitled to test

their allegations through discovery.

       Plaintiffs respectfully ask the Court to order that Defendants that allege they withdrew from

the alleged conspiracy shall produce the discovery requested for time periods after the alleged

withdrawals, to the same end-date ordered for the other Defendants.




                                                  8
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 9 of 50 PageID #:3216




        3. Admissions Scoring Data and its Importance to Plaintiffs’ Ability to Prove Our Case

        A further issue has become ripe since the time of the December 2 JSR. In their Second Set

of Requests for Production, Request No. 3, Plaintiffs seek “[f]or all Admitted Applicants,

Documents reflecting for each Academic Year the scores assigned to each factor disclosed in

response to Request No. 26 and the weight, if any, applied to that factor.”

        As of the end of December 2022, thirteen out of seventeen Defendants refused to produce

admissions scoring data in response to this Request. Plaintiffs have explained the relevance and

importance of this data in writing in at least seven emails that were copied to all Defendants:

            Plaintiffs seek this information to prove their allegation that donations
            influenced admissions decisions. This is an important way to prove that, but
            for the donation, the applicant would not have been admitted to the
            university. Absent this data, Plaintiffs’ plausible claims are far more
            difficult to prove (to say the least), as you must surely know, and Plaintiffs
            would be precluded from testing Defendants’ protestations of compliance
            with the requirements of the Section 568 exemption.

Ex. C (December 30, 2022 Robert D. Gilbert email to Georgetown and copied to all Defendants)

(emphasis added). Plaintiffs were informed on January 11, 2023, that seven more Defendants had

agreed to provide structured admissions scoring data. Columbia has represented that it does not

“score” applicants in any quantitative manner. The remaining dispute is with five defendants—

Brown, Dartmouth, Northwestern, Notre Dame, and Yale. These Defendants have refused to

produce their admissions scoring data.

        On January 13, 2023 these Defendants (and Columbia) first stated their intention to file a

motion for a protective order based upon their representation on January 4, 2023 that they will


6
  Request No. 2 from Plaintiffs’ Second Set of RFPs seeks “All Documents Concerning any scoring
methodologies You have used in considering whether to admit Applicants, including but not limited to the
principal factors that You have considered in Admissions; any numerical ranking or scoring system(s) used
in connection with those factor(s); and any weight applied to any particular ranking or scoring of the
Applicants or any particular factor.”



                                                   9
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 10 of 50 PageID #:3217




abandon the 568 Exemption as a defense in this litigation. See infra part B.4. The Court made clear

in its August 15 Decision denying Defendants’ Motion to Dismiss, and on the October 26, 2022

record, that Plaintiffs are entitled to discovery that will allow them to tie donations to admissions

decisions. Absent a filed stipulation dropping the 568 Exemption defense, absent entry of a

protective order, and without having an opportunity to read Defendants’ “contemporaneous”

motion for a protective order, Plaintiffs view Defendants’ refusal as a delaying tactic. The Court

should order that these Defendants produce their admissions scoring data.

       Defendants’ refusal to furnish this discovery severely hampers Plaintiffs’ ability to rebut a

Defendant’s argument that a particular applicant would have been admitted in the absence of the

$50,000 donation made by the applicant’s parents. In addition, discovery of admissions scoring

data will permit Plaintiffs to show that admitted applicants whose parents donated $50,000 or more

scored an average of X on factors other than a donation, while applicants unrelated to donors

scored X + Y on such factors, substantiating an inference that the university’s admission process

placed a “thumb on the scale” for donor applicants. Scoring data may very well show a column or

“score” that explicitly considers donations in reaching admissions decisions.

       This issue is now ripe. In December 30, 2022, and December 31, 2022 emails to the

Defendants who have refused to produce admissions scoring data, Plaintiffs explained the

importance of this discovery, and requested a response by January 4 clarifying whether Defendants

would modify their position; otherwise Plaintiffs would understand the issue to be ripe for the

Court’s consideration. Plaintiffs respectfully ask the Court to order that Defendants shall produce

the Admissions Scoring data responsive to Request Nos. 2 and 3 in Plaintiffs’ Second Set of

Requests for Production.




                                                 10
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 11 of 50 PageID #:3218




       4. Defendants’ Discovery Positions are Contrary to the Court’s Guidance and
          Incompatible with Defendants’ Other Positions

       As we first explained in the December 2 JSR, Plaintiffs submit that Defendants have

repeatedly taken positions that were and continue to be “unreasonable, inconsistent with the

Court’s rulings and guidance, and fundamentally interfere with Plaintiffs’ right to discover

evidence to prove their claims.” Doc. No. 255 at 2.

       This Court has been crystal-clear: Plaintiffs are entitled to discovery of donation records

and other evidence that would tie donations to admissions decisions, and this meet-and-confer

process cannot be drawn out interminably. See supra Part II.A. Rather than heed the Court’s

rulings and guidance, Defendants have in effect converted the Court’s guidance as to discovery

that should be provided into a roadmap to systematically prevent that very discovery. Individually,

Defendants’ positions cripple Plaintiffs’ ability to establish certain elements of their allegations.

By thwarting Plaintiffs’ attempts to obtain discovery of donation records from the President’s and

Development offices, and several also thwarting Plaintiffs’ attempts to obtain discovery of

admissions scoring data, Defendants’ positions amount to an integrated, multi-prong strategy to

shield from discovery the exact evidence that is highly important to Plaintiffs to make their case.

Or, put in other words, Defendants are doing precisely what the Court expressly proscribed.

       As part of this pattern of attempts to shield donation records from production, six

Defendants (Brown, Columbia, Dartmouth, Northwestern, Notre Dame, and Yale) are so

determined to try to prevent discovery of donation records that on January 4, 2023, they stated to

Plaintiffs their intention to abandon the 568 Exemption as a defense in this litigation, and advance

the argument that, therefore, they need not produce any discovery concerning the relationship of

donations to admissions. One day after that January 4 call, those six Defendants provided to

Plaintiffs “a list of RFPs and proposed search terms that we identified as relating, in whole or in



                                                 11
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 12 of 50 PageID #:3219




part, to the 568 Exemption, and therefore would object to as irrelevant and disproportionate.”

Unsurprisingly, this list is pervaded by requests that would tie admissions to donations.

       This prospective abandonment by six Defendants of the Exemption defense is immaterial

to Plaintiffs’ entitlement to important discovery from each Defendant concerning its need-

awareness or need-blindness in its admissions practices for at least three reasons.

       First, as long as at least one Defendant continues to claim the Exemption as a defense,

Plaintiffs remain entitled to discovery concerning donor-related applicants at all Defendant

universities for the duration of the conspiracy. As Plaintiffs have repeatedly explained, and as the

Court made clear in denying defendants’ Motion to Dismiss, Memorandum Decision and Order,

Dkt. No. 185, at 12-13 (Aug 15, 2022), if one Defendant violated the need-blind requirement in its

admissions practices, then the Exemption no longer applies to the conduct of any of the group

members. “The plaintiffs are not required to cite evidence specific to each defendant in their

complaint….[T]he fact that at least one member of the conspiracy is plausibly alleged not to be,

or not to have been, need-blind means that plaintiffs have plausibly alleged that none of the schools

are protected under the 568 Exemption….The defendants’ arguments to the contrary are

unavailing.” Id. As stated above in connection with the Defendants who allege to have

“withdrawn,” there is no silo of immunity from liability for members of a conspiracy. To

paraphrase John Donne, “No [conspirator] is an island, entire of itself; every [conspirator] is a

piece of the continent, a part of the main.”

       Second, even if all seventeen Defendants withdrew their Exemption defenses, Plaintiffs

would still be required to prove non-need-blind admissions practices to defeat Defendants’ Statute

of Limitation-based defenses. Defendants wish to simultaneously assert that Plaintiffs must have

been aware of Defendants’ non-need-blind practices—and thus aware of their antitrust injury for




                                                 12
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 13 of 50 PageID #:3220




statute of limitations purposes—while also shielding that very discovery from Plaintiffs.

Defendants cannot have it both ways.

       Third, Plaintiffs would still be entitled to discovery into Defendants’ admissions practices

because such information directly bears on Defendants’ arguments under the Rule of Reason. The

Court has not yet ruled whether it will apply a per se standard or the rule of reason. If the Court

entertains purported pro-competitive justifications, Defendants are likely to argue (as they did in

the 1991 Overlap case) that the conspiracy enabled them to reduce aid to affluent students so that

they could redistribute more aid to needy ones and. If any such benefits are argued to have resulted,

then Plaintiffs are entitled to show that there were less restrictive alternatives for Defendants to

achieve those ends. Plaintiffs must be allowed to take discovery into Defendants’ wealth

favoritism, to rebut Defendants’ contention and to establish that Defendants’ need aware

admissions practices were geared at constraining student body diversity in favor of revenue.

       In sum, unless each and every Defendant concedes (i) having practiced non-need-blind

admissions and concedes (ii) Plaintiffs’ inability to have discovered their injury for the purposes

of Defendants’ Statute of Limitations defenses, and concedes (iii) that they did not use the

conspiracy to create a more diverse student body, Plaintiffs remain entitled to discovery

concerning the non- need-blind admissions practices of each and every Defendant. Defendants

have refused to make these concessions. For these and other reasons, the Parties failed to reach an

understanding at a meet-and-confer on January 11.

       On January 12, Plaintiffs proposed the following compromise that would limit the

discovery Plaintiffs can take concerning Defendants’ non-need-blind admissions practices in light

of the six Defendants’ decision to abandon their Exemption defense: Each Defendant would be

required to designate as a custodian and produce for deposition one individual named by Plaintiffs,




                                                 13
  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 14 of 50 PageID #:3221




as well as produce documents pursuant to certain of Plaintiffs’ RFPs concerning donor-related

applicant records and RFPs specific to each Defendant. See Ex. D (Jan. 12, 2023 Edward Normand

email to all Defendants). The six Defendants refused to accept the compromise. The Court should

order the relief Plaintiffs seek.

    C. Issues That Are Not Yet Ripe But Would Benefit From The Court’s Guidance

        Mindful of the magnitude of discovery still remaining and the finite window in which to

conduct it, there are two additional issues that, while not yet ripe for the Court’s decision, Plaintiffs

request that the Court facilitate the diligent resolution of these issues.

        1. Discovery of Post-January 9, 2022 Communications

        At least fifteen of the seventeen Defendants have taken the position that they will not

produce documents created after January 9, 2022, at the latest (and five Defendants are asserting

that they will assert an even earlier end date because they claim to have “withdrawn” from the

conspiracy at some point.). Plaintiffs are entitled to all discovery at least through November 4,

2022, when the 568 Group was dissolved. We explained this in a January 6, 2023 email to Britt

Miller and copied to all Defendants. This January 6 email to Defendants remains the best summary

of our position, and reflective of the extent to which we have already communicated our views to

Plaintiffs, and thus we quote it below:

                First, Plaintiffs are entitled to Defendants’ non-privileged
                communications (internally and with third parties, such as lobbyists)
                in the period leading up to the expiration of the Exemption on
                September 30, 2022, and the dissolution of the 568 Presidents Group
                on November 4, 2022. We are entitled to know, for example, if
                Defendants acknowledged among themselves or to a third party that
                they would face liability for wrongdoing in the absence of the
                Exemption, or if Defendants communicated a need to disband the
                568 Group if the Congress declined to re-authorize the Exemption.

                Second, Plaintiffs are entitled to donor-related applicant information
                and admissions-related practices in the RFPs through November 4,
                2022, because such information is integral to assessing the


                                                   14
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 15 of 50 PageID #:3222




           supposedly need-blind admissions practices while the Cartel was in
           existence.

           Third, even after November 4, 2022, damages have continued to
           accrue, e.g., for those students whose aid packages had initially been
           determined while the Cartel existed. We are entitled to discovery
           through at least December 31, 2023 (i.e., 75 days before the initial
           expert reports are currently due), with respect to all requests for
           production relating to damages.

           Fourth, we are entitled to communications and financial aid
           structured data through December 31, 2023, to determine whether
           (and to what extent, and how) Defendants’ financial aid awards
           changed, after (a) the Complaint was filed and (b) the 568 Group
           disbanded on November 4, 2022. If Defendants’ financial aid
           awards have increased after (a) or (b), this will constitute further
           proof that the Consensus Methodology was anticompetitive. If there
           is no or little change in how Defendants award aid, and the
           Defendants’ net price remains substantially above a control group
           as it has been for years, this would undercut the Defendants’
           contention that the group truly or fully disbanded or at least tend to
           prove that the 17 universities continue to be influenced by common
           understandings among the Cartel.

           Accordingly, expert work will require discovery of financial aid
           structured data and other documents both leading up to the
           dissolution date (January 9, 2022-November 4, 2022) and for a
           period of time after November 4, 2022. We therefore propose an end
           date for all structured data of December 31, 2023, which captures
           two years of data following the filing of the Complaint, while still
           providing a reasonable end date prior to expert discovery deadlines
           (which is set to close on September 24, 2024).

           Fifth, a related basis for post-filing data production in a case like this
           is to determine an “after” period for the damages model. Sometimes
           the complaint is filed around the time the conduct has come to an
           end (e.g., a governmental investigation or guilty plea or the like).
           Plaintiffs then need post-conduct data for a clean, or at least partially
           clean, period with which to compare the conduct period. Given the
           end of the 568 Cartel, this is a basis for supplemental data
           productions. The effects of the conduct could be continuing even
           after the disbanding of 568, but it will undoubtedly be important to
           get data reflecting 2023 financial aid awards and tuition.

           It bears emphasis that paragraph 12 of the Second Amended
           Complaint (like the Amended Complaint) states that the Class



                                              15
  Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 16 of 50 PageID #:3223




                includes students who “first enrolled in one of Defendants’ full-time
                undergraduate programs during the relevant times (defined below)
                from January 1, 2003, until the effects of Defendants’ continuing
                conduct ceases.” Experts might differ about when effect of the
                Defendants conduct ceases, but it is not January 9, 2022.
                Paragraph 223 of the SAC, in defining the Class, states “through the
                present.” It is common that when Plaintiffs define a class “until the
                present,” the end point of the class period is the date that the
                plaintiffs file for class certification. Rodriguez v. It’s Just Lunch
                Int’l, 2018 WL 3733944, at *7 (S.D.N.Y. Aug. 6, 2018) (modifying
                an open-ended Class Period to end on the class certification date);
                see also Lawrence v. NYC Med. Prac., P.C., 2021 WL 2026229, at
                *12 (S.D.N.Y. May 20, 2021) (interpreting the endpoint of the Class
                Period (“through the present”) as the date plaintiffs filed their
                motion for class certification). In this case, according to the Case
                Management Order, that date would be October 18, 2024.

                Sixth, we are entitled to know whether and to what extent
                Defendants have changed their admissions practices since the
                Complaint was filed. This evidence is relevant whether it shows that
                a given Defendant has continued the same practices and policies in
                admissions (which under the controlling law is a further and
                continuing basis for the liability of all members of the 568 Group),
                or whether it shows that a given Defendant has changed its practices
                and policies (which we would cite as evidence of culpability and/or
                as a basis for prospective impeachment).

Ex. E (January 6, 2023 Robert D. Gilbert email to Britt Miller and copied to all Defendants).

        Plaintiffs have proposed a global meet-and-confer to discuss these six points with all

Defendants on January 17. Plaintiffs believe that a single global meet-and-confer should address

the above six issues, which are quite straightforward. Defendants have agreed.

        To facilitate timely resolution, Plaintiffs respectfully request this Court to order that by

January 20, 2023, the Parties shall complete a global meet-and-confer concerning the scope of

post-January 9, 2022, discovery, including all six categories proposed by Plaintiffs; and by the

close of January 27, 2023, file a Joint Status Report either informing the Court of the resolution of

that issue or setting forth the Parties’ positions on that issue, which will then be ripe for the Court’s

resolution.



                                                   16
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 17 of 50 PageID #:3224




       2. TAR and Search Terms

       Plaintiffs are concerned Defendants will be unable to meet the March 3 deadline for

substantial completion if the parties have not agreed on TAR procedures or search terms by the

end of January. If the Parties have not reached agreement on all material issues on potential search

methodologies by January 27, any unresolved issues will then be ripe for the Court.

       TAR

       On December 1, 2022, Northwestern served a TAR disclosure letter on Plaintiffs. On

December 8, Northwestern and Plaintiffs met and conferred. Plaintiffs wrote to all Defendants the

same day to address what Plaintiffs expected to be common issues among Defendants proposing

to employ TAR methods, and requesting a global meet and confer for the following Wednesday,

December 14. The Parties have agreed to meet and confer globally to discuss common concerns

on January 20, 2023. In the meantime, Plaintiffs have received TAR disclosure letters from

Georgetown (12/29/2022), Dartmouth (1/7/2023), Brown (1/9/2023), Duke (1/9/2023), Yale

(1/11/2023), and JHU.

       Search Terms

       The Parties have met and conferred, exchanged two rounds of proposed search terms and

feedback, and Plaintiffs have requested to meet and confer again by January 18 to address any

outstanding issues.

       In light of the upcoming March 3 deadline for substantial production, Plaintiffs respectfully

request the Court to order that by the close of business on January 23, 2023, the Parties shall

complete global meet-and-confers on Search Terms.

       Plaintiffs also respectfully request the Court to order that by the close of January 27, 2023,

the Parties shall file a Joint Status Report with the Court, either informing the Court of the




                                                17
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 18 of 50 PageID #:3225




resolution of those issues, or setting forth the Parties’ positions on each issue, which will then be

ripe for the Court’s resolution.

   D. Fallacies That Pervade Defendants’ Positions

       There are at least five consistent fallacies that permeate Defendants entire insert: 1)

Defendants do not have any serious regard for the upcoming March 3 discovery deadline; 2)

Defendants do not acknowledge that on August 15, 2022, the Court ruled Plaintiffs’ allegations

plausible, and Plaintiffs are entitled to discovery concerning those allegations; 3) Defendants have

not taken to heart the Court’s October 26 rulings about the importance of Plaintiffs’ ability to tie

donation records to admissions decisions; 4) Defendants are operating in a world where the

admissions office is the final “decisionmaker,” rather than the President of the university; and 5)

Defendants assert that Plaintiffs are looking for a “needle in a haystack.” Plaintiffs are looking for

the “needles” in the President’s office and Development office, and trying to trace them into the

admissions office before they are buried in a haystack of applicants and admittees.

       Plaintiffs have already laid out their positions at length above on Fallacies 1-3. With regard

to Fallacy 4 concerning the “decisionmakers,” Defendants assume an independent admissions

office, that they characterize as the “decisionmaker,” outside of the chain of command, and

beholden to none. When Northwestern President Morton Schapiro personally reviews 550

applications and meets with the Dean of Admissions on an admission decision, the command

influence is obvious.

       As for Fallacy 5, or the “Haystack Fallacy,” Defendants are turning reality on its head by

suggesting it is efficient or reasonable to “start with admissions” (the “haystack”). Assuming 4,000

applicants are admitted to a university, each admissions cycle from a pool of 20,000 total

applicants, the far more efficient method of identifying the “needles” is to target the donation




                                                 18
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 19 of 50 PageID #:3226




records only for cumulative gifts of $50,000 or greater as set forth in Plaintiffs’ RFPs (which are

a small fraction of the applicant pool and admittee pool). Searching the admissions haystack first

is not a good way to identify the $50,000+ needles that will stick out in the President’s Office or

Development Office, which are devoted to tracking these donors and managing the University’s

relationship with them. Sixteen out of seventeen Defendants refuse to designate custodians in their

Development Office, and thirteen out of seventeen Defendants refuse to designate custodians in

their President’s Office for the purpose of donor-related applicant record discovery.

   E. Conclusion

       A proposed form of order is attached as Exhibit F. In light of Defendants’ positions that

flout this Court’s rulings and guidance, and this Court’s recognition of the importance of and need

for discovery sufficient to prove their allegations. Plaintiffs respectfully request that the Court an

order as follows:

       1. By January 20, 2023, each Defendant (with the exception of Caltech) shall each

           designate appropriate custodians of documents from its President’s Office and

           Development Office, to allow Plaintiffs to take discovery central to their theory of

           liability;

       2. Defendants that allege they withdrew from the alleged conspiracy shall produce the

           discovery requested for time periods after the alleged withdrawals, to the same end-

           date ordered for the other Defendants;

       3. Five Defendants (Brown, Dartmouth, Northwestern, Notre Dame, and Yale) shall

           produce the admissions scoring data responsive to Request Nos. 2 and 3 in Plaintiffs’

           Second Set of Requests for Production;




                                                 19
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 20 of 50 PageID #:3227




       4. By January 20, 2023, the Parties shall complete global meet-and-confers concerning

           the scope of discovery of post-January 9, 2022 communications; and by January 27,

           2023, file a Joint Status Report either informing the Court of the resolution of that issue

           or setting forth the Parties’ positions on that issue, which will then be ripe for the

           Court’s resolution;

       5. By January 20, 2023, the Parties shall complete global meet-and-confers on any

           disputes about TAR; by January 23, 2023, the Parties shall complete global meet-and-

           confers on any disputes concerning Search Terms; and by the close of January 27,

           2023, the Parties shall file a Joint Status Report either informing the Court of the

           resolution of those issues, or setting forth the parties’ positions on those issues, which

           will then be ripe for the Court’s resolution.

Defendants’ Position

       Defendants’ statements at the December 21, 2022 status conference that the three issues

identified by Plaintiffs in the December 2 JSR—President’s and Development Office custodians,

relevant time period, and discovery from certain non-participating defendants—were not ripe for

decision at that time were accurate. Accord ECF No. 255 at 16-27 (explaining why the issues were

not ripe for decision). It is true that, as of December 2, Defendants had not surrendered to

Plaintiffs’ demands on those three issues and thus had not agreed to the sweeping and burdensome

discovery such surrender would entail. It is also true that, as of December 21, the parties had not

resolved those issues through the meet-and-confer process. But those discussions were still on-

going, and the Plaintiffs’ counsel who were engaging in the discussions with the individual

defendants had not indicated that the discussions had reached an impasse or that Plaintiffs would

accept nothing short of everything that they were asking for. It cannot be the case that an issue is

“ripe” for decision by the Court in any instance where every responding party has not capitulated


                                                 20
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 21 of 50 PageID #:3228




to the propounding party’s demands, without further discussion or negotiation and regardless of

relevance, proportionality, or other legitimate discovery concerns. Indeed, in the course of the

parties’ meet-and-confers, both in the weeks between the December 2 JSR and the December 21

hearing, and in the weeks following the December 21 hearing, Defendants offered a number of

less burdensome alternatives to the broad discovery Plaintiffs were (and are) insisting upon and

were able to narrow or eliminate certain disputes.7 In any event, although all of the Defendants

have not completed the meet-and-confer process, Defendants agree that given Plaintiffs’

unwillingness to meet Defendants even part of the way, the issues now are sufficiently mature for

the Court to address them.

A. Development Office and President’s Office Custodians8

          Plaintiffs have expressed in meet and confers that their interest in adding custodians from

schools’ President and Development Offices relates solely to the Section 568 Exemption. But

those custodians’ documents are far too attenuated from actual admissions decisions to have any

relevance to the 568 Exemption. In addition, their documents are cumulative or even duplicative

of information in documents that Defendants have already agreed to produce and thus

disproportionate to the needs of this case.




7
    Those resolutions, which vary by Defendant, are described more fully below.
8
  Six Defendants (Brown, Columbia, Dartmouth, Northwestern, Notre Dame, and Yale) have decided to
withdraw the 568 Exemption defense and therefore believe that discovery related to admissions and
development practices is no longer relevant or proportional as to them for that reason. They are addressing
that position separately. See Section E infra.
Five Defendants (Brown, Chicago, Emory, Penn, and Vanderbilt) are not asserting the 568 Exemption as a
defense after they stopped being members of the 568 Group at various times over the past decade. They are
also addressing admission practice discovery after they were no longer members of the group separately.
See Section C infra. The present section of the JSR sets forth the position of the Defendants asserting the
568 Exemption defense for some or all of the time period as to why the addition of Development and
President’s Office custodians should not be added at this juncture.


                                                    21
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 22 of 50 PageID #:3229




       Those Defendants who are asserting the 568 Exemption as a defense do not dispute

Plaintiffs’ entitlement to certain discovery as to the impact, if any, of financial support to a school

on admissions decisions when a school was a member of the 568 Group. The only dispute is how

to accomplish that consistent with Rule 26’s relevance and proportionality principles. Defendants

respectfully submit that adding custodians from the Development Office or the President’s Office

at this stage of the case is inappropriate in that it would lead to the search for, and production of,

documents that are irrelevant or cumulative and is disproportional to the needs of the case given

the custodians those Defendants are already agreeing to search. Instead of requiring discovery that

is disproportionate to the needs of the case at this early stage, Defendants propose to conduct

targeted searches for Development and President’s Office custodians’ documents for information

that is not captured in the schools’ other productions if facts arise that provide a reasonable basis

to believe that responsive, non-cumulative documents from the Development and President’s

Office custodians might exist and should be collected.

       While Federal Rule of Civil Procedure Rule 26(b)(1) allows discovery of information

relevant to a party’s claims or defenses, the relevance of the discovery requests must be

proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1); see Motorola Sols., Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924-25 (N.D. Ill. 2019) (“The discovery rules are not a

ticket to an unlimited, never-ending exploration of every conceivable matter that captures an

attorney’s interest.”). Furthermore, “the responding party is entitled to select the custodians most

likely to possess responsive information . . . unless the choice is manifestly unreasonable or the

requesting party demonstrates that the resulting production is deficient.” See Mortg. ADR

Servicing, LLC v. JPMorgan Chase Bank, N.A., 15CIV0293LTSJCF, 2017 WL 2305398, at *2

(S.D.N.Y. May 18, 2017).




                                                  22
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 23 of 50 PageID #:3230




       For the reasons explained fully herein, Plaintiffs have not demonstrated that any Defendant

should be required to add more custodians beyond those that they have already proposed.

Moreover, Plaintiffs urge the Court to adopt a “one-size-fits-all” approach where all Defendants

are required to add custodians regardless of the documents captured by their agreed-upon searches

and regardless of their own unique circumstances. As Defendants have explained in their

individual meet-and-confer sessions with Plaintiffs, Defendants are not all similarly situated when

it comes to many of the key issues in this case, including how their Admissions, President’s, and

Development Offices and departments interact with each other. If the circumstances of any

particular Defendant suggest that relevant, non-cumulative information may exist beyond what

was captured in the search of admissions custodians, the parties could then meet-and-confer about

how best to capture that information. Defendants respectfully submit that there are targeted,

reasonable school-specific alternatives to accommodate Plaintiffs’ discovery requests without

running afoul of Rule 26’s relevance and proportionality principles, and that account for each

school’s unique circumstances.

   1. Plaintiffs’ Approach Seeks Disproportionate Discovery.

       Under Plaintiffs’ interpretation, Defendants’ Section 568 Exemption defenses depend on

whether any Defendants’ admissions decision as to any applicant while the Defendant was a

member of the 568 Group was influenced by an applicant’s financial circumstances. Implicit in

this statement is that there would have to be admissions decisionmakers who were influenced by

their knowledge of an applicant’s financial circumstance. In an attempt to establish that Defendants

cannot use the 568 Exemption as a defense, Plaintiffs’ Second Amended Complaint is replete with

allegations that schools’ admissions decisions were influenced by the consideration of financial

circumstances. See, e.g., ECF 266-1 ¶¶ 3, 4, 8, 135, 139, 144, 145, 166, 168, 170, 171-79, 183,

185, 186, 188, 192. These allegations discuss letters to admissions offices, other offices reaching


                                                23
    Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 24 of 50 PageID #:3231




out to admissions offices, admissions officers attending alumni events, admissions readers tagging

applicants for special consideration based on their relationship with a donor, and admissions “plus

factors.” Nowhere do Plaintiffs allege that admissions decisions were ever made without

consulting the admissions office.

        As such—and after extensive investigation about the circumstances at their schools—

Defendants provided Plaintiffs with custodian lists that include personnel from the schools’

Admissions Offices (among other offices or departments) and non-custodial sources such as files

maintained and databases used by those offices. The custodians and repositories already disclosed

include emails and documents between the admissions decisionmakers and are therefore the most

appropriate starting point for discovery into the narrow and discrete, threshold issue of whether,

under Plaintiffs’ interpretation, any school considered any applicant’s financial circumstances in

making a single admission decision during its membership in the 568 Group. Certainly, that is

where proportional discovery should start. Plaintiffs’ kitchen-sink approach cannot be justified by

the needs of this litigation for which this discovery is sought.9

        In any event, given the differences among Defendants with respect to their operations, their

membership in the 568 Group, and the posture of this case, this Court should not support Plaintiffs’

proposed one-size-fits-all approach to discovery. For example, the fact that six Defendants

(Georgetown, Northwestern, Dartmouth, John Hopkins, Duke, and Cornell) have agreed to provide



9
  Northwestern is an unusual choice for Plaintiffs to focus on in their discussion of purported improper
refusals to designate custodians pertaining to admissions. Northwestern did include its former President, as
well as other custodial and non-custodial sources relating to the Office of the President, in its
disclosures. And the assertion that Plaintiffs have no idea what kinds of responsive documents exist relating
to the former President’s review of applications is untrue, as it ignores the fact that Northwestern’s counsel
explained during multiple meet and confers precisely what documents existed reflecting those
communications, which were included among Northwestern’s custodial and non-custodial disclosures.
Since that time, Northwestern has elected to withdraw the 568 exemption affirmative defense, meaning that
these materials are no longer relevant for the reasons explained below.


                                                     24
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 25 of 50 PageID #:3232




an individual in the President’s Office as a custodian for 568 Group discovery—based on their

investigation as to whether their President substantively engaged with the activities of the 568

Group (e.g., activities beyond being the signatory on a document)—does not mean that discovery

of the President’s Office is warranted for the Defendants whose Presidents did not engage in the

same way. The scope of discovery on Plaintiffs’ wide-ranging topics should be reflective of each

Defendant’s specific circumstances. MIT, for example, has long had a clearly stated public policy

of not giving admissions preference to donors, legacy applicants, or athletes, and any suggestion

by the Plaintiffs to the contrary is entirely hypothetical and speculative at this stage, before they

have even reviewed the extensive documents that will be made available from the Admissions

Office.10 Plaintiffs haven’t met their burden of justifying why discovery into these custodians is

appropriate for each defendant.

         Notwithstanding their admitted sole focus on admissions-related information, Plaintiffs

argue that they are entitled to information about donors from each and every school that likely

never even reached an admissions decisionmaker or even the schools’ admissions office. But that

information has no bearing on the admissions decisions that were actually made unless it was

considered by the admissions decisionmakers themselves. See Breuder v. Bd. of Trustees of

Community College Dist. No. 502, DuPage County, Illinois, 15 CV 9323, 2019 WL 3386966, at

*7 (N.D. Ill. July 26, 2019) (finding that the proposed new custodians are unlikely to produce a

significant number of relevant and unique documents when they were not the decisionmakers with

respect to the decisions that impacted the plaintiff). And if the information was considered by the




10
  See, e.g., MIT Admissions, About MIT Admissions, available at https://mitadmissions.org/about/about-
mit-admissions.



                                                 25
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 26 of 50 PageID #:3233




admissions decisionmakers, it will be captured in the documents that Defendants have agreed to

produce from their structured and unstructured admissions-related sources.

       In response, Plaintiffs have invented a number of hypothetical examples of the types of

documents they speculate might exist in other offices that would be incremental to what they will

get from admissions offices with which to test the 568 Exemption, such as oral communications

between the Development Office and Admissions about specific applicants, or communications

between a President’s Office and the Development Office about whether a specific donation was

sufficiently large to warrant involvement with the admissions process. Plaintiffs’ hypotheticals are

mere speculation and further demonstrate that the documents they seek are either unrelated to a

school’s admissions decision or more easily and readily obtainable through an admissions office

custodian. Garcia v. Tyson Foods, Inc., No. 06–2198, 2010 WL 5392660, at *14 (D. Kan. Dec.

21, 2010) (Waxse, M.J.) (“Plaintiffs present no evidence that a search of email repositories of the

11 employees at issue is likely to reveal any additional responsive emails . . . Plaintiffs must present

something more than mere speculation that responsive emails might exist in order for this Court

to compel the searches and productions requested.”). Of course, to the extent oral communications

occurred, those communications would not be reflected in written documents at all, and document

discovery is not the proper vehicle. And if a Development Office communicated with a President’s

Office about donors, internal deliberations, score cards, or any other analysis as to whether an

applicant’s financial circumstances warrant preferential treatment, those communications are

irrelevant unless and until they reach the admissions personnel who review applications and/or

make final admissions decisions—communications that will be captured among the documents

that Defendants have agreed to produce from their admissions sources. See, e.g., Jones v. Nat’l

Council of Young Men’s Christian Ass’ns of the United States, No. 09 C 6437, 2011 WL 7568591,




                                                  26
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 27 of 50 PageID #:3234




at *2 (N.D. Ill. Oct. 21, 2011) (“The Court finds that Plaintiffs’ untargeted, all-encompassing

request fails to focus on key individuals and the likelihood of receiving relevant information.”).

         Defendants can also think of no reason why discussions related to whether a donor has

sufficient wealth to warrant preferential treatment that never reach the admissions department

serve any purpose other than to harass and embarrass the individuals involved. It defies reasoning

that an applicant can receive preferential treatment when the only individuals capable of providing

preferential treatment—admissions office personnel—are left in the dark.

      2. Adding Custodians from the Development and President’s Offices Would Impose a
         Substantial Burden on Defendants.

         Plaintiffs’ insistence that all Defendants add Development and President’s Office

custodians also would impose a significant and unnecessary burden on Defendants. Defendants

should not be required to search twenty-plus years of emails and electronic documents for no other

purpose than to unearth some imagined “needle in the haystack”11 that, if it exists at all, will almost

certainly be found in materials that Defendants have already agreed to produce.

         Defendants have already collected tens of millions of documents from their existing

custodians, including custodians from their Admissions Offices. Likewise, Defendants will

produce structured admissions data.12 It would be more efficient for Plaintiffs to review the


11
   Plaintiffs’ so-called Fallacy 5 ignores that it is Defendants who, in the first instance, bear the burden of
looking for any “needle in a haystack,” a burden that is by definition disproportional to the legitimate needs
of litigation. Given the undisputed fact that Plaintiffs’ claims turn on an alleged connection between
donations and admissions, it makes sense to first look for information from the custodians who actually
work in the admissions department. Defendants have all agreed to undertake the substantial burden of
searching the files of the relevant admissions custodians. What Plaintiffs are asking Defendants to do is
look for documents in additional departments based on nothing but their own speculation that they might
find documents that not only relate to donors, but that somehow influenced admissions decisions without
also being reflected in the admissions files. The line Defendants seek to draw is the appropriate one based
on considerations of relevance and proportionality.
12
  The six Defendants (Brown, Columbia, Dartmouth, Northwestern, Notre Dame, and Yale) that are no
longer asserting the Section 568 Exemption defense contend that production of all admissions data is
disproportionate as to those Defendants. See Section E infra.


                                                      27
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 28 of 50 PageID #:3235




documents and data from those sources before Defendants spend additional time and resources

sifting through voluminous information that likely has no bearing on this case. Indeed, adding just

one custodian from either office would require that Defendants review hundreds of thousands of

documents that have minimal to no connection to the schools’ admissions practices.13 After all,

Defendants’ planned productions, using search terms already negotiated by the parties, are

designed to pick up communications between either a President’s Office or Development Office

and persons in Admissions asking that an applicant be given favorable treatment by Admissions

or other evidence that an admissions office for at least one Defendant considered an applicant’s

financial circumstances while a member of the 568 Group.

         Plaintiffs also have less burdensome avenues of discovery available to determine whether

an applicant’s financial circumstances influenced the decision of an admissions officer. For

example, some Defendants have proposed that, before adding these custodians, Plaintiffs propound

interrogatories related to Defendants’ admissions policies or conduct a 30(b)(6) deposition of an

individual in the admissions office to determine if donations are considered as part of admissions

decisions. See BankDirect Capital Fin., LLC v. Capital Premium Financing, Inc., 15 C 10340,

2018 WL 946396, at *6 (N.D. Ill. Feb. 20, 2018) (emphasizing that Rule 26(b)(1)’s proportionality

requirement weighs against discovery that could result in a massive quantity of information is

unnecessary when the information sought is easily and readily obtained through depositions and

interrogatories). To date, Plaintiffs have refused to engage on these proposals or have not

responded to them at all.14



13
 Plaintiffs have not disclosed how many custodians they seek to add from the Development and President’s
Offices.
14
  Caltech and Plaintiffs are currently engaging in productive conversations as to potential alternative
proposals in lieu of custodians from the President’s Office and Development Office, respectively. Caltech



                                                   28
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 29 of 50 PageID #:3236




       In sum, the “need” in this litigation for this type of discovery is not for every document

about every applicant whose financial circumstances may have been considered as part of the

admissions process. Rather, Plaintiffs argue that the 568 Exemption is unavailable if financial

circumstances of any applicant was considered by any of the 17 schools when that school was a

member of the 568 Group. If Plaintiffs’ theories are right about the role of financial circumstances

in admissions offices’ decisions, it is inconceivable that sufficient evidence to test the 568

Exemption will not be reflected in the files of the admissions offices. At a minimum, that is where

discovery should start. Once Plaintiffs see that discovery over the next few months, they certainly

can come back and say they do not have proportional discovery to test the 568 Exemption.

Plaintiffs’ requests for all Defendants, no matter their individual circumstances or offers of

compromise, to add upfront custodians from the Development and President’s Offices are

therefore disproportionate, and even unnecessary, to their claim that certain Defendants’

admissions decisions were influenced by financial circumstances.

   3. Defendants’ Proposed Compromise.

       While Defendants do not believe that Development and President’s Office custodians are

relevant or proportional, they have offered a less burdensome approach for producing relevant

documents beyond the admissions office where, based on Defendants’ reasonable, good-faith,

school-specific investigations, there is reason to believe, beyond sheer speculation, that the

documents actually exist. Defendants’ initial discovery efforts will focus on each school’s

admissions policies, data, and custodians. If, after Defendants’ production of admission-related

documents and data, Plaintiffs can point to follow-up discovery they need to show that an




and Plaintiffs are therefore not at an impasse on these issues (and, indeed, any order requiring such
custodians would be premature for Caltech).


                                                 29
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 30 of 50 PageID #:3237




admissions decision was influenced by the President’s or Development Office, Defendants will

confer with Plaintiffs in good faith to create targeted searches for documents from those offices

that Plaintiffs believe are relevant to a donation allegedly affecting an admissions decision (as

Defendants have repeatedly emphasized).15

         Alternatively, Defendants are also willing to respond to targeted interrogatories or

Rule 30(b)(6) deposition notices on the topic of the impact of donations on admissions. If, after

those interrogatories or deposition notices, Plaintiffs believe additional targeted discovery is

necessary, Defendants are willing to meet and confer about additional discovery. For now,

however, Plaintiffs have failed to articulate why Defendants’ proposed custodians are manifestly

unreasonable and have not yet reviewed Defendants’ productions so they cannot claim that they

will be deficient.

         Defendants’ targeted approaches, unlike Plaintiffs’ sweeping demand, would be

proportional to the needs of the case and would capture such relevant evidence, if it in fact exists.

      4. Johns Hopkins’ Position.

      Johns Hopkins has offered custodians from its Admissions Office, Financial Aid Office,

Development Office, and President’s Office. And as specifically requested by Plaintiffs, Johns

Hopkins also provided detailed organizational charts for various offices, as well as several other

categories of documents, in its initial production on December 16, 2022. Johns Hopkins and

Plaintiffs have engaged in productive meet-and-confer sessions. Recognizing that, in contrast to

the other Defendants, Johns Hopkins became a member of the 568 Group only very recently in

December 2021—just weeks before the filing of the Complaint—Plaintiffs have agreed, in the



15
  The six Defendants (Brown, Columbia, Dartmouth, Northwestern, Notre Dame, and Yale) that are no
longer asserting the Section 568 Exemption defense have not made this proposal, but have expressed a
willingness to consider more targeted discovery. See Section E infra.


                                                 30
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 31 of 50 PageID #:3238




interests of proportionality, that Johns Hopkins will produce documents from January 1, 2019 for

the three Johns Hopkins custodians. Johns Hopkins has agreed with Plaintiffs, in principle, to go

further back than January 1, 2019 for certain topics that the parties are discussing.

B. End Date for Defendants’ Data and Document Productions

         Consistent with ordinary practice in complex litigation, Defendants that remained in the

568 Group proposed the date on which Plaintiffs filed their Complaint as a reasonable cut-off date

for discovery (i.e., January 9, 2022). While acknowledging the issue is not yet ripe for the Court,

Plaintiffs now assert that Defendants are unreasonable for proposing this end date and seek the

Court’s “guidance” on this issue. No such guidance is needed. Defendants agree with Plaintiffs

that the issue is not ripe, particularly given that Plaintiffs only emailed Defendants about this issue

a week ago on January 6, 2023. Defendants are amenable to meeting and conferring on this issue

to avoid burdening the Court with yet another dispute.

         Indeed, if Plaintiffs had engaged rather than rushing to the Court, Plaintiffs would have

learned that while Defendants have proportionality and relevance concerns about some of

Plaintiffs’ positions, particularly in light of the large volume of data and documents Defendants

already have agreed to produce, Defendants are willing to discuss providing significant post-

January 9, 2022 discovery, including: (1) documents relating to the expiration of the 568

exemption and the dissolution of the 568 group (which Plaintiffs spend the bulk of their section

discussing), and (2) structured financial aid data from after January 9, 2022.16 What Defendants

are not willing to do, at least not without a discussion with the Plaintiffs, is to agree to provide




16
   Even Defendants who have exited the 568 group before its dissolution are willing to discuss providing
structured financial aid data from after January 9, 2022. These Defendants will not, however, have
documents relating to the expiration of the 568 exemption and dissolution of the group, as they exited well
before these events took place.


                                                    31
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 32 of 50 PageID #:3239




Defendants with post-January 9, 2022 discovery for each and every one of Plaintiffs’ massive

discovery requests.17

         In light of this issue only having been raised last week and the fact that many of the

documents Plaintiffs seek could not yet have even been created, Defendants respectfully request

that the parties be allowed to follow the standard meet and confer process to discuss in good faith

the issues the Plaintiffs have raised and any concerns Defendants may have, and to work to reach

a resolution.

C. Post-Membership Admissions-Related Discovery of Non-Member Schools

         With respect to discovery from five defendant institutions that stopped participating in the

568 Group years before this suit was filed—Brown, Chicago, Emory, Penn, and Vanderbilt (“Non-

Member Schools”)—Plaintiffs’ position rests on two fundamental flaws.

         First, Plaintiffs assert that the Non-Member Schools “refuse to search for or produce

documents beyond the date of their alleged withdrawal.” See supra at § II(B)(3) (emphasis added).

That is unequivocally false. Each of the Non-Members has agreed to provide post-membership

discovery on myriad relevant topics, including their lack of participation in the 568 Group post-

membership and their financial-aid practices post-membership. They simply oppose sweeping

discovery into their post-membership admissions practices, for the straightforward reason that

admissions evidence is relevant only to the 568 Exemption’s applicability and they do not invoke

the 568 Exemption as a defense for any post-membership liability they may have.

         Second, Plaintiffs contend that by not asserting the Exemption defense for the periods after

they left the 568 Group, the Non-Member Schools are seeking to “relitigate” the legal standard for



17
  Plaintiffs’ January 6, 2023 email to Defendants did not point to specific discovery requests for which
they require the post-January 9, 2022 discovery. Thus, Defendants are left without a full understanding of
Plaintiffs’ request. Defendants ask that Plaintiffs identify specific RFPs during a meet and confer.


                                                   32
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 33 of 50 PageID #:3240




withdrawal and use that to “render[] them[selves] immune” from discovery into their post-

membership admissions practices. Id. That, too, is wrong. As noted, the Non-Member Schools

have agreed to provide discovery relevant to whether they adequately withdrew from the alleged

conspiracy and remain liable post-membership. But, even if, post-membership, the Non-Member

Schools did not adequately “withdraw” from the alleged conspiracy and remain liable for any

unlawful acts of the remaining members of the 568 Group (and vice versa), that still does not make

discovery into the Non-Member Schools’ post-membership admissions practices relevant, because

those admissions practices are relevant only to the applicability of the 568 Exemption—which, to

repeat, the Non-Member Schools do not invoke as a defense for any post-membership liability.

Indeed, Plaintiffs affirmatively assert that one or more of the Non-Member Schools have already

produced evidence showing that they were not fully need-blind post-membership. And Plaintiffs

fail to explain, much less meet their burden to establish, why the expansive post-membership

admissions discovery they seek is necessary at all, let alone proportional, to establish what they

claim is an admitted and undisputed fact.

         Plaintiffs persistently ignore these two basic points because they have no answer. As

further elaborated below, the challenged discovery should be denied.18



18
   Non-Member Brown, which left the 568 Group more than a decade ago, is among the six schools that
have advised the Plaintiffs that they do not intend to assert the Exemption defense for any period relevant
to this case when they answer the Plaintiffs’ Second Amended Complaint. Those six schools (Brown,
Columbia, Dartmouth, Notre Dame, Northwestern, and Yale) are all separately moving for a protective
order barring certain discovery into their admissions and development offices that Plaintiffs claim is
relevant only to whether the 568 Exemption applies. The specific post-membership discovery to which the
Non-Member Schools object is set forth in that protective order motion, and Plaintiffs’ request in this JSR
for an order compelling such discovery from the Non-Member Schools for post-membership periods
(during which the Non-Member Schools do not assert the defense) should be denied for all the reasons set
forth in that motion, including the supporting declaration submitted on behalf of Brown, which details the
inordinate and unwarranted burden associated with this unnecessary discovery. See Decl. of Jon R. Roellke
in Supp. of Mot. For Protective Order. Plaintiffs’ request for such discovery from the Non-Member Schools
should also be denied for the separate and independent reasons set forth herein.


                                                    33
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 34 of 50 PageID #:3241




         Each Non-Member School has agreed to provide substantial discovery into the post-

membership issues that Plaintiffs have properly identified as relevant to the withdrawal defenses

and multiple other topics.19 Most critically, the Non-Member Schools have agreed to provide post-

membership discovery relevant to whether their withdrawal defenses are legally adequate and, if

not, to whether any conduct after they terminated membership in the 568 Group is a basis for

liability on the merits. For example, each of the Non-Member Schools have agreed to provide

proportional discovery into their post-membership financial need calculation methodologies,

materials from their financial aid offices as to any alleged continued participation in the 568 Group,

and materials concerning how they each met the financial need of admitted students (e.g., loans,

grants, etc.). This is the very same post-membership discovery that Plaintiffs have identified as

relevant to the Non-Member School withdrawal defenses, and it is the only post-membership

discovery they need even if the withdrawal defenses are, as Plaintiffs contend, legally inadequate.20




19
  In the December 2, 2022 JSR (ECF No. 255), Plaintiffs stated they needed post-membership discovery
into “whether and to what extent (a) the Defendant continued to use the information shared among the
conspirators to make its pricing decisions, (b) the Defendant continued to share pricing-related information
with the co-conspirators, (c) the Defendant continued to use a pricing model, strategy, or formula that was
based on or derived from the Common Methodology, and (d) the Defendant’s pricing otherwise continued
to reflect the influence of the co-conspirators’ application of the Common Methodology, both before and
after the Defendant’s purported ‘withdrawal.’” See Dec. 2, 2022 Joint Status Report at 13. In this current
JSR, Plaintiffs ignore entirely that the Non-Member Schools have agreed to provide that discovery.
20
  Plaintiffs’ suggestion that the Non-Member Schools have not identified “custodians” after they were no
longer members of the 568 Group is misleading, especially as to Chicago, Brown, and Emory. A different
temporal scope will not change these Defendants’ custodians or non-custodial sources, as these schools
have each explained to Plaintiffs. Chicago’s custodians from Financial Aid and Admissions—which
Plaintiffs have not challenged—started at Chicago as early as July 2009 and have remained through present.
There are no successors to be added. Likewise, for Brown, its identified custodians in Financial Aid have
been at the University continuously since 2006, and its identified custodians in Admissions cover the period
of 2005 to present. Similarly, Emory’s custodians with responsive financial aid- and admissions-related
documents started as early as 2007, and the custodians still serve in their respective positions (or their
successors were included on Emory’s custodian list). In sum, for Chicago, Brown, and Emory, there are no
additional Financial Aid or Admissions custodians Plaintiffs want added regardless of temporal scope.


                                                    34
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 35 of 50 PageID #:3242




         Notwithstanding the Non-Member Schools’ agreement to provide the discovery described

above, Plaintiffs insist that the Non-Member Schools collect, redact for FERPA compliance, and

produce from their respective admissions, development, and other offices vast amounts of post-

membership documents and student-specific data concerning their admissions practices.

Specifically, Plaintiffs have demanded post-membership discovery responsive to more than 70

separate document requests that pertain solely to whether the Non-Member Schools were “need-

blind” for purposes of testing the applicability of the 568 Exemption. Plaintiffs fail to meet their

burden of establishing that such post-membership discovery into admissions practices is relevant

and proportional with respect to the Non-Member Schools, none of which assert the Exemption

defense during the time period they were no longer members of the 568 Group.21

         Notably, this extensive post-membership discovery into admissions practices is entirely

separate from, and wholly immaterial to, Plaintiffs’ assertion that the Non-Member Schools did

not adequately “disavow” or “repudiate” the goals of the alleged unlawful agreement for purposes

of avoiding continued joint and several liability. See 2d Am. Compl. ¶¶ 27, 107.22 Rather,

discovery into admissions practices (and supposedly related donor practices) are relevant only to

testing whether a Defendant is immune from antitrust scrutiny for engaging in certain activities

authorized by Section 568 (e.g., collaborating with other schools on best practices for evaluating



21
  For three of the Non-Member Schools (Brown, Chicago, and Emory), Plaintiffs seek this vast post-
membership discovery for every year for almost a decade during which those schools do not assert the 568
Exemption defense, despite Plaintiffs’ failure to substantiate that any such extensive discovery is relevant,
necessary, or proportional.
22
  To be clear, none of the Non-Member Schools participated in an unlawful agreement to use the Consensus
Methodology in determining need (so there was nothing for them to “repudiate” or “disavow” when they
left the Group). And Plaintiffs are also wrong about what is required to effectively withdraw from any
unlawful agreement. But for present purposes, that is all beside the point. Even assuming that the Non-
Member Schools failed to adequately withdraw from the alleged conspiracy, that does not somehow make
post-membership admissions information relevant when the Non-Member Schools are not claiming the
Exemption for that period regardless.


                                                     35
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 36 of 50 PageID #:3243




financial need). If, as here, a school leaves the 568 Group, and thus no longer invokes the 568

Exemption to immunize its post-membership conduct, no discovery is needed to determine

whether that school meets the Exemption’s requirements. Plaintiffs fail to demonstrate otherwise.

         Plaintiffs’ assertion that post-membership discovery of admissions and admissions-related

donor practices remains relevant to whether other schools can invoke the exemption is misplaced.

The 568 Exemption permits schools to engage in certain collaborative activities related to financial

aid without antitrust scrutiny—here, membership in the 568 Group. Once a Non-Member School

stopped participating in the 568 Group,23 its post-membership admissions practices cannot impact

the availability of the 568 Exemption to schools that remained in the 568 Group. Stated differently,

the 568 Exemption cannot be defeated by the alleged fact that a school that was no longer a member

of the 568 Group began post-membership to engage in non-need-blind admissions practices,

regardless of whether its withdrawal was legally ineffective to defeat any claim of unlawful

financial-aid conduct after the school ceased its membership in the 568 Group. Otherwise, any

single school could unilaterally terminate the work of the entire 568 Group, and thereby effectively

undermine Congressional intent, by ending its membership in the Group and, thereafter, adopting

admission practices that would not qualify for the Exemption.

         For example, after Emory left the 568 Group, it publicly announced that one of its

campuses would be need-aware going forward. That post-membership change by Emory cannot

negate the 568 Exemption defense for schools that remained in the 568 Group, none of which is

alleged to have collaborated with Emory on its post-membership financial aid practices. And, even

if Emory’s post-membership change to its admissions practices did impact the availability of the



23
  Lest there be any doubt, these schools will provide reasonable post-membership discovery to allow
Plaintiffs to test if they in fact stopped participating in the 568 Group.


                                                36
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 37 of 50 PageID #:3244




defense for other schools, that post-membership change is, and has been, publicly known and thus

discovery into it adds nothing but unnecessary burden.24

         In addition, Plaintiffs will have proportional discovery into 568 Group communications, as

well as the admissions practices of any Defendant school for time periods during which any school

asserts the 568 Exemption defense. This includes discovery of the Non-Member Schools for the

period during which they participated in the 568 Group and are asserting the 568 Exemption

defense. Plaintiffs have made no showing that such extensive discovery will in any way be

insufficient to establish the extent to which any 568 Group members qualified for the 568

Exemption.

         In all events, to the extent Plaintiffs need limited discovery of post-membership admissions

practices for the limited purpose of establishing whether other schools may properly assert the 568

Exemption, there are numerous other less burdensome and more proportional means by which to

obtain such discovery. Plaintiffs could, for example, propound interrogatories, seek deposition

testimony, or serve requests for admissions, all of which would serve to provide meaningful

discovery of post-membership admission practices and policies without imposing the inordinate

burden and expense of the vast document and data collection and FERPA redactions their post-

membership document requests would impose on the Non-Member Schools. Plaintiffs, however,

have steadfastly refused to even consider, much less propound, any such less burdensome and



24
   Moreover, under Plaintiffs’ interpretation of the 568 Exemption, as long as an admission decision was
not need-blind for any student at any of the 17 schools while it was a member of the 568 Group, then the
568 Exemption cannot apply to any Defendant. But under Plaintiffs’ legal interpretation of the 568
Exemption, which they contend that this Court has accepted in ruling on Defendants’ Motions to Dismiss,
scorched-Earth discovery into the admissions practices related to all applicants at all schools for all years
is not necessary. Under Plaintiffs’ statutory interpretation, they do not need all discovery as to every student
from every school in every year. And they certainly do not need admissions and donor discovery from
schools during years that they were not members of the 568 Group.




                                                      37
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 38 of 50 PageID #:3245




more proportional means of discovery. Nor does their request for relief in this JSR address any

such alternative means.

       Given Plaintiffs’ failure to even consider any alternative and less burdensome means of

discovery into the narrow issues they have speculated could be potentially relevant, and their

refusal to budge from their blanket demand that each Non-Member School provide all of that

requested discovery without any limitation that accounts for the fact that those schools are not

asserting the 568 Exemption after they stopped participating in the Group, their requested relief

should be denied. As this Court has noted, parties that seek “the sun, the moon, and the stars”

should recognize that they may wind up with none of the discovery they seek. The Non-Member

Schools respectfully submit that Plaintiffs have failed to heed that guidance during the past several

months of meet and confers to find an approach to discovery into admissions practices and

allegedly related donor records including from these Non-Member Schools after they ended their

memberships in the 568 Group. And nothing in this JSR meets the Plaintiffs’ burden to establish

why any such post-membership discovery is proportional as to the Non-Member Schools.

Plaintiffs’ request for an order compelling the Non-Member Schools to provide all requested

discovery into admissions and donor practices—which request is itself premised on incorrect

assertions about the vast post-membership discovery that the Non-Member Schools have already

agreed to produce—should be denied.

D. Admissions Scoring Data

       Plaintiffs are incorrect that there is a ripe issue with respect to admissions scoring data. As

explained in Section E below, six Defendants—Brown, Columbia, Dartmouth, Northwestern,

Notre Dame, and Yale—are dropping the defense based upon Section 568 of the Sherman Act,

which makes Plaintiffs requests for admissions scoring data no longer relevant and

disproportionate as to these Defendants. The remaining Defendants have agreed to produce


                                                 38
     Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 39 of 50 PageID #:3246




admissions scoring data to the extent it appears in structured data or other responsive documents.

Plaintiffs’ attempt to manufacture a discovery dispute on this issue before even learning of

Defendants’ position on this structured data is improper and a waste of this Court’s time.

E. Schools Withdrawing the Exemption Defense

         Six of the Defendants––Brown, Columbia, Dartmouth, Northwestern, Notre Dame, and

Yale––informed Plaintiffs on January 3, 2023, that, when they answer Plaintiffs’ Second Amended

Complaint, they will no longer assert a defense based upon Section 568 of the Sherman Act (“the

Exemption”). These Defendants will instead focus on the numerous other deficiencies in Plaintiffs’

case, including with regard to liability, injury, damages, and class certification. These Defendants

explained to Plaintiffs that, in light of their decisions not to rely upon the Exemption, much of the

discovery that Plaintiffs are currently seeking against all Defendants is no longer relevant and is

disproportionate as to these Defendants, because it is aimed only at establishing that these

Defendants do not meet the statutory requirements to claim the Exemption. Since that initial

discussion, these Defendants have met and conferred with Plaintiffs twice. These Defendants have

identified the specific RFPs and Search Terms that are no longer relevant nor proportionate to

them.25 Plaintiffs have expressed the view that the question of whether each of these Defendants

met the statutory requirements for the Exemption is still relevant to other issues that remain in the

case. The parties have discussed various approaches to allow Plaintiffs more limited discovery to

investigate that question, while reducing the burden and expense of discovery to these Defendants,

including limited deposition testimony or written discovery. But Plaintiffs have insisted that these

Defendants produce documents and data responsive to more than half of the RFPs that relate to




25
  As noted in various sections above, these RFPs implicate the issues discussed in sections B1, 4 and 5 of
Plaintiffs’ section of this Joint Status Report.


                                                   39
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 40 of 50 PageID #:3247




the Exemption defense, including production of decades of data from their Development and

Admissions databases. That proposed “compromise” did nothing to address the inordinate and

disproportionate burden their requests would impose. Indeed, making this unwieldy litigation more

manageable by focusing discovery and ultimate adjudication on the issues core to Plaintiffs’ claims

is precisely the reason these Defendants have decided to withdraw their Exemption defense.

       Because the parties are at impasse regarding how discovery should be limited with respect

to these six Defendants, they are contemporaneously filing a Motion for Protective Order

addressing their concerns.

F. TAR and Search Terms

       By Plaintiffs’ own admission, neither TAR nor search terms is ripe for the Court’s

consideration. Plaintiffs provided Defendants with a search term proposal just prior to the filing of

this JSR (January 13); until Defendants have had a meaningful opportunity to consider that

proposal, setting an arbitrary deadline for the finalization of meet-and-confers on the topic is

premature.

G. Discovery from Plaintiffs

       A dispute also exists with respect to discovery sought by Defendants from Plaintiffs. These

issues are ripe for decision, and Defendants will file a separate motion to compel this discovery.

Conclusion

       While Defendants do not believe that Plaintiffs’ hyperbole (the “fallacies” narrative)

warrants a point-by-point refutation (although Defendants are prepared to provide one if the Court

would like), they believe that it is worth stating that they strongly disagree with each and every

one of Plaintiffs’ allegations in this regard. Defendants have acted in good faith throughout the

discovery process. They have been met with considerable delay on the part of Plaintiffs in

responding to discovery proposals, inconsistent positions from different Plaintiffs’ counsel as to


                                                 40
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 41 of 50 PageID #:3248




possible resolutions of various discovery issues, and repeated attempts by Plaintiffs to

mischaracterize and misstate Defendants’ positions. All of the Defendants are committed to the

schedule the Court has set and are doing their very best to achieve those deadlines. But those efforts

are being substantially frustrated by Plaintiffs’ intractable discovery posture. We believe that the

compromises Defendants have offered are appropriate and reasonable and welcome any questions

the Court may have as it considers these issues.

Dated: January 13, 2023                                 Respectfully submitted,


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                                                   41
 Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 42 of 50 PageID #:3249




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                                       42
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 43 of 50 PageID #:3250




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Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 44 of 50 PageID #:3251




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                                      44
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 45 of 50 PageID #:3252




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                                      45
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 46 of 50 PageID #:3253




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                                      46
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 47 of 50 PageID #:3254




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                                      47
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 48 of 50 PageID #:3255




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                                      48
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 49 of 50 PageID #:3256




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                                      49
Case: 1:22-cv-00125 Document #: 274 Filed: 01/13/23 Page 50 of 50 PageID #:3257




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                                      50
